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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No.: 23cv0541-LL-VET
12                                      Plaintiff,
                                                          ORDER GRANTING MOTION TO
13    v.                                                  WITHDRAW AS COUNSEL
14    CITY OF SAN DIEGO, et al.
                                                          [ECF No. 178]
15                                   Defendants.
16
            Pending before the Court is Mark Albert Rigau’s Motion to Withdraw as Counsel
17
      for the United States pursuant to Local Civil Rule 83.3(f)(3). ECF No. 178. The United
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      States remains represented by other counsel of record from the U.S. Department of Justice,
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      Mr. Rigau’s withdrawal will not delay any proceedings or prejudice any party, Defendants
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      do not oppose this motion, and Mr. Rigau has served this motion upon the adverse parties
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      and upon the United States. See id. The Court therefore GRANTS the Motion to Withdraw
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      as Attorney.
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            IT IS SO ORDERED.
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      Dated: June 6, 2025
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